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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS
FORT WORTH DIVISION

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IN RE: STANDING ORDER
CONCERNING PAPER FILING IN
CASES ASSIGNED TO U.S.
DISTRICT JUDGE JOHN MCBRYDE

KARENAMTCHELL
CLERK,U£S[NSTRKTTCXJURT

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S TAND ING ORDER

Because of the uncertainty that might be created by Local
Rule LR 5.1 of the Local Civil Rules and Rule LCrR 49.2 of the
Local Criminal Rules of this court concerning the document-filing
requirements of the undersigned,

The undersigned DIRECTS that:

1. No document will be filed in any case on the docket of
the undersigned by electronic means; and, all documents filed in
any case on the docket of the undersigned shall be in traditional
paper form, single-sided, bearing the original signature of the
filing party and complying with the Federal Rules of Civil
Procedure, the Federal Rules of Criminal Prooedure, the local
rules of this court applicable to paper filings, and the
undersigned's judge-specific requirements as set forth in the
form status report order available at

http;//wwvv.txnd. uscourts.oov/siteS/defau|t/fi|es/documentS/McBrvdeStatusReportOrder`pdf.

2. An exception to the foregoing is that documents filed

in an action before the action is assigned to the docket of the

 

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undersigned are authorized to be electronically filed; provided,
if any such document has been electronically filed in a civil
action before the action has been assigned to the docket of the
undersigned, and if the action is not one that is on the docket
of the undersigned by reason of a transfer from another federal
court or judge, the filing party shall deliver to the clerk of
court within three (3) business days of the receipt of this order
the original and one copy of each such document in paper form,
without any changes except as necessary to comply with the
requirements of paragraph 1 above and bearing original signatures
as if the documents had been filed in paper form, and shall
staple to the front of the original of each such document a copy
of the Notice of Electronic Filing related to the previous
electronic filing of the document.

3. Any party who initiates a civil action that is assigned
to the docket of the undersigned shall serve a copy of this order
by certified or registered mail, return receipt requested, on
each other party to the action within five (5) days of receipt of
this order. If an additional party is joined in such action, the
party or parties causing the joinder of the additional party
shall serve a copy of this order on the additional party, by
certified or registered mail, return receipt requested, within

five (5) days of the joinder of the additional party.

 

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4. In each criminal case, the government shall serve a
copy of this order on each defendant's counsel, by certified or
registered mail, return receipt requested, within five (5) days
after the identity of defense counsel is known, either by reason
of entry of appearance or order appointing counsel.

SIGNED November 21, 2017. /?/

 
  
 

    

 

United States Distrig€/;udge

 

 

